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   Kyle Farris
 8

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10
                                  UNITED STATES DISTRICT COURT
11
                   NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION
12

13
     KYLE FARRIS                                        Federal Case No.: 5:17-CV-05418-LHK
14
                    Plaintiff,
15
             vs.                                        STIPULATED REQUEST FOR
16                                                      DISMISSAL OF DEFENDANT EQUIFAX,
     EQUIFAX, INC.; et. al.,                            INC.; [PROPOSED] ORDER
17
                    Defendants.
18

19
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20
             IT IS HEREBY STIPULATED by and between plaintiff Kyle Farris and defendant
21
     Equifax, Inc. (“Equifax”), that Equifax be dismissed from this action with prejudice pursuant to
22
     Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its own
23
     attorneys’ fees and costs.
24
     //
25
     //
26
     //
27
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           STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
         Case 5:17-cv-05418-LHK Document 24 Filed 12/27/17 Page 2 of 2




 1 DATED: December 27, 2017                     Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Kyle Farris
 5
     DATED: December 27, 2017                   Nokes & Quinn
 6

 7

 8                                              By:           /s/ Thomas P. Quinn, Jr.
                                                                   Thomas P. Quinn, Jr.
 9
                                                Attorneys for Defendant
10                                              Equifax, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
             Pursuant to the stipulation of the Parties, Equifax is dismissed with prejudice, and that each
17
     party shall bear its own attorneys’ fees and costs.
18
             IT IS SO ORDERED.
19

20
     DATED:
21                                                 LUCY H. KOH
                                                   UNITED STATES DISTRICT JUDGE
22

23

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                                                           2
          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
